               THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:12-cv-00178-MR
            (CRIMINAL CASE NO. 1:05-cr-00023-MR-DLH-5)


DEBORAH REID HENDRIX,      )
                           )
              Petitioner,  )
                           )
     vs.                   )                   ORDER
                           )
UNITED STATES OF AMERICA, )
                           )
              Respondent.  )
__________________________ )


     THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence under 28 U.S.C. § 2255. [Doc. 1].

     IT IS, THEREFORE, ORDERED that:

     (1)   The Clerk of Court shall calendar this matter for this Court’s

     August 2015 sentencing term;

     (2)   The United States Marshal shall make arrangements to have the

     Petitioner transported from her place of incarceration to this District

     sufficiently in advance of the August 2015 sentencing term so that she

     may be afforded an adequate opportunity to confer with counsel in

     preparation for the hearing;




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     (3)   The Federal Defender shall appoint counsel to represent the

     Petitioner; and

     (4)   The United States Probation Office shall provide a supplemental

     presentence report in advance of the sentencing hearing.

     The Clerk of Court is directed to certify copies of this Order to the

Petitioner, counsel for the Government, the Federal Defenders of Western

North Carolina, the United States Bureau of Prisons, the United States

Marshals Service, and the United States Probation Office.

     IT IS SO ORDERED.




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